              Case 1:17-cv-02299-TCB Document 7 Filed 08/02/17 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TEYA LUCAS,                                )
                                           )
                                           )
                       Plaintiff,          )
                                           )
v.                                         )           CIVIL ACTION NO.
                                           )         1:17-cv-02299-TCB-CMS
GLOBAL CREDIT &                            )
COLLECTION CORP.                           )
                                           )
                                           )
                       Defendant.          )


                              NOTICE OF SETTLEMENT


          COMES NOW defendant Global Credit & Collection Corporation

(“Defendant"), by and through its undersigned counsel, and hereby informs the

Court that a settlement of the present matter has been reached as to all claims of

plaintiff Teya Lucas against Defendant in this matter.

          Defendant, therefore, requests that this Honorable Court give the parties 30

days to file the necessary dismissal papers.

          Respectfully submitted this 2nd day of August, 2017.

                                         s/ Alan D. Leeth
                                         Alan D. Leeth
                                         Georgia Bar No. 472031
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                                         Louis G. Fiorilla


30158361 v1
              Case 1:17-cv-02299-TCB Document 7 Filed 08/02/17 Page 2 of 4




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                                         GLOBAL CREDIT & COLLECTION
                                         CORPORATION




                                           2
30158361 v1
              Case 1:17-cv-02299-TCB Document 7 Filed 08/02/17 Page 3 of 4




                          CERTIFICATION OF COUNSEL


          I hereby certify that the foregoing NOTICE OF SETTLEMENT has been

prepared with Times New Roman, 14 point font, one of the font point selections

approved by the Court in LR 5.1B.



                                         s/ Alan D. Leeth
                                         Alan D. Leeth
                                         Georgia Bar No. 472031
                                         aleeth@burr.com

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30158361 v1
              Case 1:17-cv-02299-TCB Document 7 Filed 08/02/17 Page 4 of 4




                            CERTIFICATE OF SERVICE


          I hereby certify that on this 2nd day of August, 2017, I presented the

foregoing NOTICE OF SETTLEMENT to the Clerk of Court for filing and

uploading to the CM/ECF system, which will automatically send e-mail

notification of such filing to the following attorneys of record, or, if notice is not

provided to the attorney via the CM/ECF system, that a true and correct copy of

the same will be served via U.S. First Class Mail, postage prepaid, and addressed

as follows:


                                    Jonathan Mason
                                 Mason Law Group, P.C.
                           1100 Peachtree Street, NE, Suite 200
                                  Atlanta, GA 30309


                                         s/ Alan D. Leeth
                                         Alan D. Leeth
                                         Georgia Bar No. 472031
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30158361 v1
